Case 9:16-cv-81871-KAM Document 611 Entered on FLSD Docket 03/27/2020 Page 1 of 4



                               UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA

  LAN LI, et al.,                                     )
                                                      )
               Plaintiffs,                            )
                                                      )
                      v.                              ) Case No. 16-81871
                                                      ) LEAD CASE
  JOSEPH WALSH, et al.,                               )
                                                      )
               Defendants.                            )

  LAN LI, et al.,                                     )
                                                      )
               Plaintiffs,                            )
                                                      )
  v.                                                  ) Case No. 19-80332
                                                      )
  PNC BANK, N.A., and                                 )
  RUBEN RAMIREZ,                                      )
                                                      )
               Defendants.                            )
                                                      )

                           ORDER ON PENDING DISCOVERY DISPUTES
                             FOLLOWING MARCH 20, 2020 HEARING

          THIS CAUSE is before the Court following the lengthy telephonic discovery hearing held

  on March 20, 2020 [DE 604] and the parties’ Joint Motion for Discovery Conference [DE 596].

          Upon careful review of the parties’ Joint Motion [DE 596], Joint Notice [DE 603], the

  entire docket in this case, and counsels’ arguments at the March 20, 2020 discovery hearing, is it

  hereby ORDERED as follows:

       1. All Plaintiffs, whether represented by counsel or proceeding pro se, shall produce all

          documents responsive to Defendants’ discovery requests within their possession, custody

          or control on or before May 4, 2020. Each and every one of the Plaintiffs shall individually

          make a good faith, earnest search in an effort to locate responsive documents. The Court
Case 9:16-cv-81871-KAM Document 611 Entered on FLSD Docket 03/27/2020 Page 2 of 4



        notes that the fact and expert discovery cutoff date has been extended until September 30,

        2020. [DE 609]. The Court requires that all responsive documents be produced in

        accordance with this Order well in advance of the deposition dates so that Defendants’

        counsel have an opportunity to review those documents prior to the depositions. Plaintiffs’

        counsel’s argument at the hearing that the Plaintiffs could simply bring their documents to

        their depositions is rejected as it is not in compliance with applicable rules and Plaintiffs’

        discovery obligations. This case has been pending since 2016 and discovery has been

        delayed far too long. Failure of any Plaintiff to comply with his or her discovery obligations

        and the Court’s Orders may result in sanctions including but not limited to dismissal of the

        offending Plaintiff’s case. The discovery process must proceed expeditiously and

        promptly.

     2. The Court finds that Plaintiffs have not produced all discovery to Defendants in a useful,

        sufficiently organized, and responsive manner. Those Plaintiffs represented by counsel

        shall consult with their e-discovery vendor(s) and with counsel for the Defendants and

        determine a manner of production which meets Plaintiffs’ discovery obligations under

        applicable rules and this Court’s Orders. For example, if a response to a request for

        production or interrogatory refers to documents, then that reference shall be to specific

        Bates numbers or Bates ranges. The reference to documents shall be responsive and

        Plaintiffs shall not reference documents that are not responsive to the discovery requests.

        Plaintiffs shall not produce an “incoherent mass of documents” as Defendants claim

        Plaintiffs have done. Plaintiffs shall make no boilerplate objections and shall revise any

        discovery responses that contain such. The Court finds that Plaintiffs reference to “Keys”

        and “Issue Tags” is insufficient for discovery purposes, especially in light of the substantial



                                                  2
Case 9:16-cv-81871-KAM Document 611 Entered on FLSD Docket 03/27/2020 Page 3 of 4



        discovery problems raised by Defendants. Plaintiffs’ Interrogatory responses, responses to

        Request for Production, and Initial Disclosures which do not comply with this Order or

        prior Orders shall be revised and served on or before May 4, 2020. Pro Se Plaintiffs are

        also ORDERED to comply with this Order and with all of their discovery obligations as

        set by the applicable rules and this Court’s Orders. The Court advises ALL Plaintiffs that

        they have an affirmative duty to produce and fully respond to discovery in this case.

        Plaintiffs have affirmatively chosen to file their lawsuit in this jurisdiction and shall comply

        in a timely manner with all rules and Orders of this Court. The Court does not want to hear

        excuses from Plaintiffs and instead requires prompt and full discovery production.

     3. Although the COVID-19 issue will clearly have an effect on the taking of in-person

        depositions for an unknown period of time, it should have no effect upon document

        production, or revision of discovery or interrogatory responses and initial disclosures

     4. Additionally, despite the current COVID-19 issues, the parties shall be setting aside

        deposition dates, and agreeing on deposition locations now. That is to say, if in-person

        depositions of some Plaintiffs cannot be taken until July or August 2020, for example, there

        is nothing preventing the parties from setting aside dates and locations for those depositions

        now. In fact, the Court is ordering all parties to take such action now and work together

        cooperatively during the discovery process. Plaintiffs are ordered to obtain all necessary

        travel documents, including visas, forthwith, so they can attend their depositions.

     5. Absent agreement between the parties to conduct depositions remotely, all depositions of

        all Plaintiffs shall be live, in person depositions. Each Plaintiff has an affirmative obligation

        to seek and obtain his or her travel documents so he or she can attend their depositions as

        ordered by this Court and required by applicable rules.



                                                   3
Case 9:16-cv-81871-KAM Document 611 Entered on FLSD Docket 03/27/2020 Page 4 of 4



     6. The Court directs that Defendants’ counsel and Plaintiffs’ counsel shall email a copy of

          this Order to all pro se Plaintiffs if they have an email address for such pro se Plaintiffs.

     7. The Clerk of Court is directed to mail a copy of this Order to: Baoping Liu, Room 1201,

          Building C, Dachong Business Center, Nanshan District, Shenzhen, 51800 P.R. China.

          DONE and ORDERED in chambers, West Palm Beach, Florida, this 27th day of March

  2020.



                                                         ____________________________________
                                                         WILLIAM MATTHEWMAN
                                                         UNITED STATES MAGISTRATE JUDGE




                                                    4
